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  II.     Count 2: Defendants Tou Thao and J. Alexander Kueng—Deprivation of Rights Under
          Color of Law (Failure To Intervene).

   2(b). The defendant observed or otherwise knew that unreasonable force was being used
                                           against Mr. Floyd.
           Defendant Thao: Evidence                                         Source
Stood directly next to Chauvin and Mr. Floyd for first GE 9 (Thao BWC) at 20:19:14-20:25:21;
6 minutes that Chauvin held his knee on Mr. Floyd’s
neck:                                                  GE 27 (Thao/ Milestone video) at 20:19:14-20:25:21

  -     Entirety of time that Mr. Floyd repeated that he
        could not breathe and begged for help

  -     Including after Mr. Floyd stopped speaking (at
        20:23:59)

  -     Including after Mr. Floyd lost consciousness (at
        or around 20:24:46)

Heard directly from Mr. Floyd that Floyd could not GE 9 at 20:21:53 (Floyd to Thao: “I can’t breathe!
breathe because of the knee in his neck            Please, a knee in my neck, I can’t breathe”)

Repeatedly looked back at Chauvin holding his knee GE 27 (Thao/ Milestone video) and GE 14
on Mr. Floyd’s neck for remaining 3 minutes and 20 (Milestone video) at 20:25:21-20:28:43
seconds of restraint
                                                   GE 17 (Frazier video) at 4:29-7:53

                                                           GE 19 (Hansen video) at 0:00-3:34




                                                                                               Attachment 1
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Heard from bystanders that Chauvin was stopping GE 9 at 20:23:36 (Bystander: “A jujitsu move bro?
Mr. Floyd’s breathing                           You’re trapping his breathing right there”; Thao:
                                                “We’re done. Okay. Okay.”);

                                                           At 20:27:18 (Bystander: “He’s still on the ground?
                                                           You’re still on him? Get the fuck off him! He’s like
                                                           dying, bro! What are you doing? He’s dying!”)

Heard from bystanders        that   Mr.   Floyd   lost E.g., GE 9 at 20:25:30 (“He’s not responsive right
consciousness                                          now!”); (“Look at him!”);

                                                           At 20:24:44 (Bystander: “He’s about to pass out”;
                                                           Thao: “That’s what happens layin’ on the ground”)

Bystanders, including off-duty firefighter, begged him E.g., GE 9 at 20:25:42 (“Check him for a pulse.
to check pulse or ask other officers to do so          Please. Check for a pulse. Check for a pulse!”);
                                                       20:26:20 (“Thao, check his pulse!”)

We know that he heard bystanders because he E.g., GE 9 at 20:25:58 (“Check his pulse, bro. Bro,
responded to them                           check his pulse.” Thao: “Don’t do drugs, guys.”)

                                                           Id. at 20:27:05 (Firefighter Hansen: “Do you have a
                                                           pulse?” Thao: “I’m busy trying to deal with you guys
                                                           right now.” Hansen: “Okay, do they have a pulse?”)

See also evidence supporting element 6 (willfulness)




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              Defendant Kueng: Evidence                                            Source

Positioned on Mr. Floyd’s mid-section, directly next to GE 7 (Kueng BWC) at 20:19:14-20:30:00;
Chauvin, the entire time that Chauvin held his knee
on Mr. Floyd’s neck, as Mr. Floyd:                      Tr. at 1771-72 (testimony of Dr. Systrom: “I think
                                                        from my review, counsel, respectfully, Mr. Kueng
   - Repeated that he could not breathe and begged had a front row seat to what was going on”).
      for help

   -   Stopped speaking;

   -   Stopped moving;

   -   Lost consciousness;

   -   And lost a pulse.

Could hear Lane ask if they should roll Mr. Floyd on GE 7 at 20:23:48 (Lane: “Roll him on his side?”
his side and responded to Lane 1                     Kueng: “Just leave him.”)

Could hear Lane observe that Mr. Floyd had lost GE 7 at 20:24:44 (Lane: “Yeah I think he’s passing
consciousness                                   out.”)

Could hear Lane ask if Mr. Floyd had a pulse                  GE 7 at 20:25:50 (Lane: “You got one?”)

Twice checked for a pulse and twice said that he could GE 34 (Kueng and Lane side-by-side BWC with
not find one                                           Kueng audio) at 20:25:52 Kueng first pulse check;
                                                       20:25:59 Kueng “I can’t find one”; 20:26:07 Kueng

       1   Cf. Jones v. City of Cincinnati, 507 F. App’x 463, 469 (6th Cir. 2012) (“We also assume that all six
officers (1) were aware or could infer that Jones was at risk for positional asphyxia and (2) inferred that
Jones was at risk by 6:02:32 a.m. when Officer Slade first asked, ‘How ‘bout we roll him?’”).
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                                                           second pulse check; 20:26:12 Kueng “I can’t find
                                                           one”

Remained directly next to Chauvin as Chauvin GE 7 at 20:25:59-20:28:43
continued to hold his knee on Mr. Floyd’s neck for 2
minutes and 44 seconds after Kueng said he could not
find a pulse.

See also evidence supporting element 6 (willfulness)



2(c) The defendant had the opportunity and means to intervene to stop the unreasonable force.
          Defendant Thao: Evidence                                   Source
Chauvin held his knee on Mr. Floyd’s neck for 9 GE 9 at 20:19:14-20:28:43
minutes and 29 seconds.

Thao stood directly next to Chauvin and Mr. Floyd, GE 9 (Thao BWC) at 20:19:14-20:25:21;
looking down at them, for the first 6 minutes.
                                                   GE 27 (Thao/ Milestone video) at 20:19:14-20:25:21
For the remaining 3 minutes and 20 seconds of GE 27 (Thao/ Milestone video) at 20:25:21-20:28:43
restraint, was only steps away from Chauvin.
                                                   GE 17 (Frazier video) at 4:29-7:53

Bystanders did not gather in number and vocalize GE 27 (Thao/ Milestone video) at 20:19:14-20:28:43
until near-midway through the restraint.

Bystanders were begging Thao to intervene.                 GE 9 at, e.g., 20:24:00 (“Bro just get him off the
                                                           ground. You could get him off the ground.”);
                                                           20:26:09 (“So you call what he doin’ okay?”);
                                                           20:27:08 (Firefighter Hansen: “Do they have a
                                                       4
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                                   pulse? Tell them to check for one. Right now. Tell
                                   them to check one, I swear to god.”); 20:28:05
                                   (“Thao are you gonna—you’re gonna let him keep
                                   that like that? You gonna let him kill that man in
                                   front of you?”)

                                   Tr. at 1121 (Inspector Blackwell testimony: Q: “Did
                                   you see anything in the video that you watched that
                                   would have prevented Officer Thao from complying
                                   with the MPD policy and training on duty to
                                   intervene?” A: “I did not.”); at 1122 (Q: “So with
                                   respect to . . . the bystanders . . . did you observe
                                   anything that would have prevented Defendant
                                   Thao from complying with the policy…” A: “I did
                                   not.”);

                                   Tr. at 2474 (Lt. Zimmerman testimony: “Based on
                                   what I saw in the video . . . [the bystanders] weren’t
                                   a threat. They were actually trying to help, with
                                   their suggestions, help Mr. Floyd be able to
                                   breathe.”; at 2475 “[Based on watching this video
                                   and listening to what the crowd was saying is they
                                   were trying to help the officers to help . . . Mr.
                                   Floyd.”);

                                   Tr. at 2528 (Lt. Zimmerman testimony: The
                                   bystanders were saying “[t]hat Mr. Floyd was dying
                                   and that he needed to, you know, let him up and—
                                   with what they were saying, it appeared to me that


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                                                         they were offering more intervention than the
                                                         police officers were.”)

         Defendant Kueng: Evidence                                   Source
Chauvin held his knee on Mr. Floyd’s neck for 9 GE 7 at 20:19:14-20:28:43
minutes and 29 seconds.

Was the closest officer to Chauvin; positioned directly GE 7 at 20:19:14-20:28:43
next to him throughout the entire 9 minutes and 29
seconds.

Not otherwise engaged or changing position.              E.g., GE 7 at 20:22:18-20:22:28 (picking gravel out
                                                         of tire tread); at 20:24:55 (Chauvin: “You guys
                                                         alright though?” Kueng: “Good so far.”)

                                                         Tr. at 1126 (Inspector Blackwell testimony: Q:
                                                         “What, if anything, did you observe in the video
                                                         that you watched that would have prevented or
                                                         could have prevented Mr. Kueng from complying
                                                         with the MPD policy and training on the duty to
                                                         intervene?” A: “Nothing.”)


                   2(d) The defendant failed to take reasonable steps to do so.
           Defendant Thao: Evidence                                      Source
Did not do or say anything to intervene to stop or GE 9 at 20:19:14-20:28:43;
attempt to stop Chauvin.
                                                   Tr. at 1120-21 (Inspector Blackwell testimony that
                                                   Thao’s actions were inconsistent with duty to


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                                                       intervene and that “I didn’t see any part of duty to
                                                       intervene on the video”);

                                                       Tr. at 2470-71 (Lt. Zimmerman testimony: “Officer
                                                       Thao didn’t intervene, did not try to put Mr. Floyd
                                                       in a recovery position, didn’t try to do CPR on Mr.
                                                       Floyd, didn’t try to move Chauvin off of . . . his
                                                       neck. So he did nothing to intervene.”)

                                                       Tr. at 2523 (Lt. Zimmerman testimony: Q: “Did you
                                                       see Officer Thao attempt to intervene?” A: “No.”)

                                                   Tr. at 2818 (Chief Longo testimony: “I think [Thao]
                                                   acted contrary to generally accepted police practices
                                                   by not intervening. . . . Because he took no steps to
                                                   intervene.”).
          Defendant Kueng: Evidence                                        Source
Did not do or say anything to intervene to stop or GE 7 at 20:19:14-20:28:43;
attempt to stop Chauvin.
                                                   Tr. at 1125 (Inspector Blackwell testimony that
                                                   Kueng’s actions were inconsistent with duty to
                                                   intervene and that she did not see him take any
                                                   steps to intervene);

                                                       Tr. at 2470 (Lt. Zimmerman testimony: “Officer
                                                       Kueng didn’t roll him over, put him in the recovery
                                                       position, didn’t make Chauvin move off of his neck,
                                                       didn’t do anything as far as intervening.”)


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                                   Tr. at 2523 (Lt. Zimmerman testimony: Q: “Did you
                                   see Officer Kueng attempt to intervene?” A: “No.”)

                                   Tr. at 2823 (Chief Longo testimony) (“I believe Mr.
                                   Kueng’s conduct was contrary to generally accepted
                                   policing practices with respect to his duty to
                                   intervene. . . . He saw Mr. Floyd pinned to the
                                   ground. He helped in that regard.”).




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                      3. The defendant committed the acts or omissions willfully.
For purposes of Count Two: The defendant knew that, as an officer, he was required to intervene, but he
intentionally failed to do it.
            Defendant Thao: Evidence                                          Source
Thao knew he was required to intervene because he GE 57, 58 (Thao signatures re: responsibility for
repeatedly learned through MPD policy and training knowing policies);
that:
                                                       GE 46 (MPD use of force policy) at 5-301.A
   - An officer’s use of force is no longer permitted (“Sanctity of life and the protection of the public
      after a subject is under control and has stopped shall be the cornerstones of the MPD’s use of force
      resisting;                                       policy”);
   -   It is counter to MPD policy and training, and
                                                     At 5-301.01 (requirements based on Fourth
       unnecessary, to apply bodyweight to a prone,
                                                     Amendment “reasonableness” standard);
       handcuffed, and unresisting person’s neck;

   -   Once a prone arrestee is handcuffed and           At 5-303.01 (Duty to Intervene policy) (A. “Sworn
       compliant, officers are to move the arrestee into employees have an obligation to protect the public
       a side recovery or a seated position to help the  and other employees.”; B. “It shall be the duty of
       arrestee breathe; and                             every sworn employee present at any scene where
                                                         physical force is being applied to either stop or
   -   Regardless of rank or seniority, an officer who attempt to stop another sworn employee when force
       sees a fellow officer using unlawful force has a is being inappropriately applied or is no longer
       duty to intervene to stop or attempt to stop that required.”);
       officer.
                                                         At 5-311 II.C. (“Neck restraints shall not be used
                                                         against subjects who are passively resisting as
                                                         defined by policy.”);

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                                    At 5-316 III (“Side Recovery Position: Placing a
                                    restrained subject on their side in order to reduce
                                    pressure on his/her chest and facilitate breathing”);

                                    GE 59 (Thao training records documenting 1,014
                                    hours of MPD training);

                                    GE 61 (2018 Defensive Tactics PPT) at 8
                                    (proportional force); at 15 (duty to intervene policy);
                                    at 53 (neck restraints shall not be used against
                                    subjects who are passively resisting); at 58 (side
                                    recovery position); at 60 (side recovery position
                                    “ASAP”);

                                    GE 62 (2019 Defensive Tactics lesson plans) at 6
                                    (Instructor demonstration: “Breakdown, neck
                                    restraint, lower to ground, prone handcuff, sit
                                    opponent up, and bring opponent to standing”;
                                    “Drill…subject from prone to standing”; “Drill-
                                    Prone to standing”);

                                    GE 63 (2019 Defensive Tactics PPT) at 9
                                    (proportional force); at 13 (duty to intervene policy);
                                    at 21 (neck restraints shall not be used against
                                    subjects who are passively resisting); at 53 (side
                                    recovery position “ASAP”)




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See also evidence supporting element 3 (defendant
knew that unreasonable force was being used against
Mr. Floyd).

           Defendant Kueng: Evidence                                          Source
Kueng knew he was required to intervene because he GE 66, 67 (Kueng signatures re: responsibility for
repeatedly learned through MPD policy and training knowing policies);
that:
                                                       GE 46 (MPD use of force policy) at 5-301.A
   - An officer’s use of force is no longer permitted (“Sanctity of life and the protection of the public
      after a subject is under control and has stopped shall be the cornerstones of the MPD’s use of force
      resisting;                                       policy”);
   -   It is counter to MPD policy and training, and
                                                     At 5-301.01 (requirements based on Fourth
       unnecessary, to apply bodyweight to a prone,
                                                     Amendment “reasonableness” standard);
       handcuffed, and unresisting person’s neck;

   -   Once a prone arrestee is handcuffed and           At 5-303.01 (Duty to Intervene policy) (A. “Sworn
       compliant, officers are to move the arrestee into employees have an obligation to protect the public
       a side recovery or a seated position to help the  and other employees.”; B. “It shall be the duty of
       arrestee breathe; and                             every sworn employee present at any scene where
                                                         physical force is being applied to either stop or
   -   Regardless of rank or seniority, an officer who attempt to stop another sworn employee when force
       sees a fellow officer using unlawful force has a is being inappropriately applied or is no longer
       duty to intervene to stop or attempt to stop that required.”) (emphasis added);
       officer. 2

       2   Cf. Yang v. Hardin, 37 F.3d 282, 285 (7th Cir. 1994) (“The number of officers present and able to
intervene . . . in no way correlates with any one officer’s duty to intercede. Each police officer present has
an independent duty to act.”); Putman v. Gerloff, 639 F.2d 415, 423 (8th Cir. 1981) (“We conclude although
Crowe was a subordinate the evidence is sufficient to hold him jointly liable for failing to intervene if a
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                                                          Tr. at 2439 (Lt. Zimmerman testimony: Regarding
                                                          the duty to intervene, “There’s no time on the job
                                                          limit or minimum. The badge that we all wear is
                                                          the same badge and we all have the same
                                                          responsibility.”)

                                                          Tr. at 2472 (Lt. Zimmerman testimony: “[W]hen we
                                                          take our oath to be police officers and they pin the
                                                          badge on us, it doesn’t mean that you get a free
                                                          pass for a day or a week or six months or a year. It
                                                          means that you’re responsible for a person’s safety
                                                          just as much as I would be or as the chief of police
                                                          would be. We all take the same oath.”)

                                                          At 5-311 II.C. (“Neck restraints shall not be used
                                                          against subjects who are passively resisting as
                                                          defined by policy.”);

                                                          At 5-316 III (“Side Recovery Position: Placing a
                                                          restrained subject on their side in order to reduce
                                                          pressure on his/her chest and facilitate breathing”);

                                                          GE 103 (Kueng Henn. Tech. Transcript);

                                                          GE 68 (Kueng training records);



fellow officer, albeit his superior, was using excessive force and otherwise was unlawfully punishing the
prisoner.”).
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                                    GE 130 (Academy Manual) at 25, 26 (“As a Police
                                    Officer you will be responsible not only for your
                                    actions but also for the actions of your partner and
                                    others. . . . You will be held responsible for your
                                    actions and inactions.”); at 36 (use of force policy); at
                                    43 (neck restraint policy);

                                    GE 73 (Academy Use of Force PPT) at 13 (duty to
                                    intervene policy); at 41 (neck restraints shall not be
                                    used against subjects who are passively resisting); at
                                    56 (side recovery position);

                                    GE 74 (Academy Defense Tactics Lesson Plans) at 4
                                    (“Do not continue to apply the . . . neck restraint after
                                    you are aware that they have completely passed
                                    out.”); at 8 (neck restraints shall not be used against
                                    persons      passively    resisting);    at    id.    (“If
                                    unconsciousness        occurred,       request      EMS
                                    immediately…loosen clothing & jewelry around the
                                    SUB’s neck area, check airway & breathing—start
                                    CPR if needed”); at 12 (same); at 17 (do not apply
                                    neck restraint after unconscious); at 26 (same); at 31
                                    (side recovery position); at 32 (side recovery position
                                    ASAP);

                                    GE 77 (Kueng Academy exam answers) at No. 8
                                    (duty to truthfully answer questions); at No. 9 re:
                                    who oversees a scene (correctly answered: “Senior
                                    officer of the 1st squad to arrive at the scene,” and

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                                                       not one of the other options, “Senior officer at the
                                                       scene”);

                                                       Tr. at 2577-78 (testimony of Chief Kelly McCarthy:
                                                       “Duty to intervene, it’s one of those core learning
                                                       objectives that is so important that we bring it
                                                       through all of your education, is simply that you
                                                       have an obligation not only to ensure that citizens
                                                       are acting appropriately, but that your fellow officers
                                                       and other government officials are also acting in a
                                                       legal, ethical, and moral way.”)

Kueng’s omissions to Lt. Zimmerman show that he        GE 5 at 21:56:30 (Kueng and Lane’s statements to
knew that his failure to intervene was wrong.          Lt. Zimmerman) (omitting how long the restraint
                                                       lasted; that Chauvin held his knee on Mr. Floyd’s
                                                       neck; that officers could not find a pulse)

                                                       GE 45 at 5-101 (MPD truthfulness policy: “Officers
                                                       shall not willfully or knowingly make an untruthful
                                                       statement, verbally or written, or knowingly omit
                                                       pertinent information pertaining to his or her
                                                       official duty as a Minneapolis police officer.”)
See also evidence supporting element 3 (defendant
knew that unreasonable force was being used against
Mr. Floyd).




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  III.   Count 3: Defendants Tou Thao, J. Alexander Kueng, and Thomas Lane—Deprivation of
         Rights Under Color of Law (Deliberate Indifference to Serious Medical Needs)

          2(b) The defendant actually knew that Mr. Floyd had a serious medical need.
           Defendant Thao: Evidence                                         Source
Stood directly next to Chauvin and Mr. Floyd for first GE 9 (Thao BWC) at 20:19:14-20:25:21;
6 minutes of restraint
                                                       GE 27 (Thao/ Milestone video) at 20:19:14-20:25:21
   - Entirety of time that Mr. Floyd repeated that he
      could not breathe and begged for help

  -   Including after Mr. Floyd stopped speaking (at
      20:23:59)

  -   Including after Mr. Floyd lost consciousness (at
      or around 20:24:46)

Demonstrated awareness that Mr. Floyd was likely GE 9 and 27 at 20:21:50 (Thao to Floyd: “What are
under the influence                              you on?”)

Heard directly from Mr. Floyd that Floyd could not Id. at 20:21:53 (Floyd to Thao: “I can’t breathe!
breathe because of the knee in his neck            Please, a knee in my neck, I can’t breathe”)

Repeatedly looked back at Chauvin and Mr. Floyd for GE 27 (Thao/ Milestone video) at 20:25:21-20:28:43
remaining 3 minutes and 20 seconds of restraint
                                                    GE 17 (Frazier video) at 4:29-7:53

                                                          GE 19 (Hansen video) at 0:00-3:34




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Heard from bystanders        that   Mr.   Floyd   lost E.g., GE 9 at 20:25:30 (“He’s not responsive right
consciousness                                          now!”); (“Look at him!”)

Bystanders, including off-duty firefighter, begged him E.g., GE 9 at 20:25:42 (“Check him for a pulse.
to check pulse or ask other officers to do so          Please. Check for a pulse. Check for a pulse!”);
                                                       20:26:20 (“Thao, check his pulse!”)

We know that he heard bystanders because he E.g., GE 9 at 20:25:58 (“Check his pulse, bro. Bro,
responded to them                           check his pulse.” Thao: “Don’t do drugs, guys.”)

                                                            Id. at 20:27:05 (Firefighter Hansen: “Do you have a
                                                            pulse?” Thao: “I’m busy trying to deal with you guys
                                                            right now.” Hansen: “Okay, do they have a pulse?”)

See also evidence supporting element 5 (willfulness)

           Defendant Kueng: Evidence                                              Source

Positioned on Mr. Floyd’s mid-section; had his knees GE 7 (Kueng BWC) at 20:19:14-20:30:00;
and a hand on Mr. Floyd throughout the entire period
that Mr. Floyd:                                      Tr. at 1771-72 (testimony of Dr. Systrom: “I think
                                                     from my review, counsel, respectfully, Mr. Kueng
   - Repeated that he could not breathe and begged had a front row seat to what was going on”).
      for help

   -   Stopped speaking;

   -   Stopped moving;

   -   Lost consciousness;



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  -   And lost a pulse.

Demonstrated awareness that Mr. Floyd was likely GE 7 at 20:20:58 (Thao: “Is he high on something?”
under the influence                              Kueng: “I believe so.”)

Could hear Lane ask if they should roll Mr. Floyd on GE 7 at 20:23:48 (Lane: “Roll him on his side?”
his side and responded to Lane                       Kueng: “Just leave him.”)

Could hear Lane observe that Mr. Floyd had lost GE 7 at 20:24:44 (Lane: “Yeah I think he’s passing
consciousness                                   out.”)

Could hear Lane ask if Mr. Floyd had a pulse                GE 7 at 20:25:50 (Lane: “You got one?”)

Twice checked for a pulse and twice said that he could GE 34 (Kueng and Lane side-by-side BWC with
not find one                                           Kueng audio) at 20:25:52 Kueng first pulse check;
                                                       20:25:59 Kueng “I can’t find one”; 20:26:07 Kueng
                                                       second pulse check; 20:26:12 Kueng “I can’t find
                                                       one”

See also evidence supporting element 5 (willfulness)

           Defendant Lane: Evidence                                              Source

Positioned at Mr. Floyd’s legs and feet throughout the GE 5 (Lane BWC) at 20:19:14-20:30:00
entire period that Mr. Floyd:

  -   Repeated that he could not breathe and begged
      for help

  -   Stopped speaking;



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  -   Stopped moving;

  -   Lost consciousness;

  -   And lost a pulse.

Demonstrated awareness that Mr. Floyd was likely GE 5 at 20:20:58 (Thao: “Is he high on something?”
under the influence                              Lane: “I’m assuming so.”)

Could hear and acknowledged bystanders’ statements E.g., GE 5 at 20:24:42 (Bystander: “He’s about to
about Mr. Floyd’s deteriorating condition          pass out.” Lane: “Yeah I think he’s passing out.”);
                                                   20:25:45 (Firefighter Hansen: “Check for a pulse.
                                                   Please. Check for his pulse!” Lane: “You got one?”)

Made additional statements demonstrating          his E.g., GE 5 at 20:23:49 (Lane: “Should we roll him
knowledge of Mr. Floyd’s medical distress             on his side?” Kueng: “No, just leave him.” Chauvin:
                                                      “Nope, stayin’ put the way you got him.”);

                                                            20:25:39 (Lane: “Should we roll him on his side?”
                                                            [no response])

See also evidence supporting element 5 (willfulness)



  2(c) The defendant disregarded that medical need by failing to take reasonable measures to
                                              address it.
           Defendant Thao: Evidence                                     Source
Did not take any measures to render medical aid.    GE 9 (Thao BWC) at 20:19:14-20:30:00;



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                                                        Tr. at 1709 (Dr. David Systrom testimony; Q: “And
                                                        based on your review of the video evidence in this
                                                        case, what, if any, medical care did you see any
                                                        officer provide to George Floyd before Mr. Floyd
                                                        was loaded into the ambulance?”
                                                        A: “I did not see any.”);

                                                        Tr. at 1907-09 (MPD medical trainer Nicole
                                                        MacKenzie testimony: Thao’s actions were
                                                        “inconsistent” with MPD policy and training on
                                                        medical aid; as to Thao, “I didn’t see any
                                                        appearances to render aid.”);

                                                        Tr. at 2173 (Dr. Vik Bebarta testimony: Q: “In your
                                                        review of the video, what medical intervention, if
                                                        any, was offered to Mr. Floyd before he was placed
                                                        in the ambulance?” A: “None.”)

                                                        Tr. at 2828-29 (Chief Longo testimony: Q: “Do you
                                                        have an opinion as to whether Mr. Thao’s conduct
                                                        was consistent or inconsistent with the duty to
                                                        provide medical aid?” A: “I think it is inconsistent. .
                                                        . . Because he didn’t do anything.”).

          Defendant Kueng: Evidence                                        Source
Did not take any measures to render medical aid.        GE 7 (Kueng BWC) at 20:19:14-20:30:00;

                                                        Tr. at 1709 (Dr. David Systrom testimony; Q: “And
                                                        based on your review of the video evidence in this
                                                        case, what, if any, medical care did you see any

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                                                      officer provide to George Floyd before Mr. Floyd
                                                      was loaded into the ambulance?”
                                                      A: “I did not see any.”);

                                                      Tr. at 1896, 1902 (MPD medical trainer Nicole
                                                      MacKenzie testimony: Kueng’s actions were
                                                      “inconsistent” with MPD policy and training on
                                                      medical aid); at 1905-06 (pulse checks are “an
                                                      assessment” and “doesn’t mean you’re rendering
                                                      any sort of aid”);

                                                      Tr. at 2173: (Dr. Vik Bebarta testimony: Q: “In your
                                                      review of the video, what medical intervention, if
                                                      any, was offered to Mr. Floyd before he was placed
                                                      in the ambulance?” A: “None.”);

                                                   Tr. at 2829 (Chief Longo testimony: Q: “And what is
                                                   your opinion about whether Mr. Kueng’s conduct
                                                   was consistent or inconsistent with the duty to
                                                   provide medical aid? A: “I think it was contrary to
                                                   generally accepted policing practices. . . . Again,
                                                   because he didn’t take any steps to—other than to
                                                   check pulse, which is not rendering medical aid.”)
           Defendant Lane: Evidence                                      Source
Did not take any measures to render medical aid on GE 5 (Lane BWC) at 20:19:14-20:30:00;
the ground, despite the fact that Mr. Floyd was
                                                   Tr. at 1709 (Dr. David Systrom testimony; Q: “And
                                                   based on your review of the video evidence in this
                                                   case, what, if any, medical care did you see any


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-   On the ground pleading for help and that he officer provide to George Floyd before Mr. Floyd
    could not breathe for 4 minutes and 45 seconds was loaded into the ambulance?”
    [20:19:14-20:23:59];                           A: “I did not see any.”);

-   Silent on the ground for 4 minutes and 48 Tr. at 1902-03 (MPD medical trainer Nicole
    seconds [20:23:59-20:28:47];                  MacKenzie testimony: Lane’s actions were
                                                  “inconsistent” with MPD policy and training on
-   Unconscious on the ground for 4 minutes and 1
                                                  medical aid); at 1905-06 (pulse checks are “an
    second [20:24:46 (Lane: “he’s passing out”)-
                                                  assessment” and “doesn’t mean you’re rendering
    20:28:47]
                                                  any sort of aid”);
-   Without an ascertainable pulse on the ground
                                                   Tr. at 2173: (Dr. Vik Bebarta testimony: Q: “In your
    for 2 minutes and 48 seconds [20:25:59 (Kueng:
                                                   review of the video, what medical intervention, if
    “I can’t find one”)- 20:28:47]
                                                   any, was offered to Mr. Floyd before he was placed
                                                   in the ambulance?” A: “None.”);

                                                      Tr. at 2531-32 (Lt. Zimmerman testimony: “[Lane]
                                                      didn’t . . . render first aid. He didn’t put Mr. Floyd
                                                      in a side recovery position. Mr. Floyd was
                                                      handcuffed by him and his partner, and they should
                                                      have taken care of the person they had in custody
                                                      and it’s that simple.”)

                                                      Tr. at 2830 (Chief Longo testimony: Q: “What is
                                                      your opinion about whether Mr. Lane’s conduct was
                                                      consistent or inconsistent with the duty to provide
                                                      medical aid?” A: “Contrary to generally accepted
                                                      police practices. . . . For the same reasons. Officer
                                                      Lane took no steps to provide medical care . . . .”).


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Pulse checks are not medical aid.                      Tr. at 1905-06 (MPD medical trainer MacKenzie
                                                       testimony: pulse checks are “an assessment” and
                                                       “doesn’t mean you’re rendering any sort of aid”);

                                                       Tr. at 2278 (Dr. Bebarta testimony on cross-
                                                       examination: Q: “You testified that the paramedic
                                                       checking his carotid artery to see if he had a pulse
                                                       was also providing care?” A: “That’s actually
                                                       assessing for a pulse, not providing care.”);

                                                       Tr. at 1709 (Dr. Systrom testimony: Q: “And based
                                                       on your review of the video evidence in this case,
                                                       what, if any, medical care did you see any officer
                                                       provide to George Floyd before Mr. Floyd was
                                                       loaded into the ambulance?” A: “I did not see any.”);

                                                       Tr. at 2146 (Dr. Bebarta testimony: Q: “What
                                                       medical aid, if any, did you see any of the four
                                                       officers provide Mr. Floyd before Mr. Floyd was
                                                       loaded into the ambulance?” A: “I did not see any
                                                       medical aid provided.”)

Questions are not medical aid.                         Tr. at 2052 (MPD medical trainer MacKenzie
                                                       testimony: “Suggesting rendering aid and actually
                                                       rendering aid are two very different things.”; “Just
                                                       merely offering a suggestion will not pump blood
                                                       throughout your system.”);

                                                       Tr. at 2531 (Lt. Zimmerman testimony: Q: “Mr.
                                                       Gray asked you a line of questions about things Mr.
                                                       Lane said. Do you remember those questions?” A:
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                                                          “Yes.” Q: “What, if anything, did Mr. Lane do to
                                                          provide aid to Mr. Floyd when he was on the
                                                          ground?” A: “Nothing.”)

Seconds and minutes are critical when a person has Tr. at 1708 (Dr. Systrom testimony: there is “about
no pulse.                                          a ten percent fall per minute” in chance of survival
                                                   after cardiac arrest; he observed Mr. Floyd being
                                                   restrained for “about three minutes” following the
                                                   onset of cardiac arrest);

                                                          Tr. at 1838 (MPD medical trainer MacKenzie
                                                          testimony: (“If they're unsure, they can ask
                                                          somebody else to check a pulse, but if they're not
                                                          getting that pulse within ten seconds, then you
                                                          immediately begin CPR.”); at 2047 (“They need to
                                                          act immediately.”);

                                                          Tr. at 2176 (Dr. Bebarta testimony: “It's taught
                                                          across the country in basic life support, Red Cross --
                                                          that every minute that a life-saving maneuver is
                                                          not given, like CPR or chest compressions, they
                                                          have a 10 percent higher risk of dying”; “So the
                                                          longer that goes on, the higher risk of dying, every
                                                          minute, every second.”)


                     3. The defendant committed the acts or omissions willfully.
For purposes of Count Three: The defendant knew that, as an officer, he was required to try to aid Mr. Floyd,
but he intentionally failed to do it.
           Defendant Thao: Evidence                                          Source

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Thao knew he was required to render aid because of GE 57, 58 (Thao signatures re: responsibility for
what he learned through MPD policy:                knowing policies)

  -   Policy requires officers to render aid while GE 48 (Emergency Medical Response Policy 7-350)
      awaiting EMS; and                             at II.A. (“[D]elay in treatment could potentially
                                                    aggravate the severity of the medical crisis”); at
  -   Policy informs officers of the dangers of the
                                                    II.A.1. (“While awaiting EMS, MPD employees
      prone position and the need to use the side
                                                    assisting an individual having an acute medical
      recovery position.
                                                    crisis shall provide any necessary first aid
                                                    consistent with MPD training, as soon as
                                                    practical.)” (emphasis added);

                                                 GE 46 (Use of Force Post Incident Requirements 5-
                                                 306) (“As soon as reasonably practical, determine if
                                                 anyone was injured and render medical aid
                                                 consistent with training and request [EMS] if
                                                 necessary.”) (emphasis added).; Id. at 5-316 (“Side
                                                 Recovery Position: Placing a restrained subject
                                                 on their side in order to reduce pressure on his/her
                                                 chest and facilitate breathing.”)
He knew because he was CPR-certified and trained GE 59 (Thao records documenting medical
regarding:                                       training);

  -   The need to place a person who is prone, GE 60 (Thao CPR certification card);
      handcuffed, and no longer resisting in the side
      recovery position;                              GE 61 (2018 Defensive Tactics PPT) (side recovery
                                                      and prone positions at 31946, 31948);
  -   The dangers of positional asphyxia and keeping
      a person restrained in the prone position;


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   -   The increased medical danger if substance use GE 63 (2019 Defensive Tactics PPT) (side recovery
       is suspected;                                 and prone positions at 53310, 53325);

   -   The need to aid someone who has lost GE 75 (2012 Administrative Announcement re:
       consciousness;                       positional asphyxia training video);

   - The dangers of failure to regain consciousness; GE 76 (2012 positional asphyxia training video);
     and
                                                        GE 86 (2019 CPR PPT) (provide CPR while
  - The need for immediate CPR if no pulse is awaiting EMS at 43092, 43098, 43102);
     found.
                                                        Tr. at 1873-1881 (MPD medical trainer Nicole
                                                        MacKenzie testimony re: medical training received
                                                        by Thao)
He was not forced to make a split-second decision; he GE 27 (Thao/ Milestone video) at 20:19:14-20:30:00
made a conscious choice over the course of 9 minutes. 3

See also evidence supporting element 3 (defendant
actually knew that Mr. Floyd had a serious medical
need).

          Defendant Kueng: Evidence                                      Source
Kueng knew he was required to render aid because of GE 66, 67 (Kueng signatures re: responsibility for
what he learned through MPD policy:                 knowing policies)

                                                              GE 48 (Emergency Medical Response Policy 7-350)
                                                              at II.A. (“[D]elay in treatment could potentially

       3   C.f. Cole Estate of Richards v. Hutchins, 959 F.3d 1127, 1134-35 (8th Cir. 2020) (“[A] few seconds is
enough time to determine an immediate threat has passed, extinguishing a preexisting justification” for
force).
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   -   Policy requires officers to render aid while aggravate the severity of the medical crisis”); at
       awaiting EMS; and                             II.A.1. (“While awaiting EMS, MPD employees
                                                     assisting an individual having an acute medical
   -   Policy informs officers of the dangers of the crisis shall provide any necessary first aid
       prone position and the need to use the side consistent with MPD training, as soon as
       recovery position.                            practical.)” (emphasis added);

                                                      GE 46 (Use of Force Post Incident Requirements 5-
                                                      306) (“As soon as reasonably practical, determine if
                                                      anyone was injured and render medical aid
                                                      consistent with training and request [EMS] if
                                                      necessary.”) (emphasis added).; Id. at 5-316 (“Side
                                                      Recovery Position: Placing a restrained subject
                                                      on their side in order to reduce pressure on his/her
                                                      chest and facilitate breathing.”)
He knew because he was CPR-certified and trained GE 68 (Kueng training records);
regarding:
                                                      GE 85 (Kueng records documenting medical
   - The need to place a person who is prone, training and test responses and scores); e.g., at
      handcuffed, and no longer resisting in the side 1892 (Q: “If you are unable to feel a carotid pulse in
      recovery position;                              an unconscious, nonbreathing adult within 5 to 10
                                                      seconds, you should”; Kueng answered correctly:
   - The dangers of positional asphyxia and keeping
                                                      “Begin cardiopulmonary resuscitation (CPR) at
      a person restrained in the prone position;
                                                      once.”); at 1889 (question providing scenario
   - The increased medical danger if substance use regarding delayed CPR: “Which of the following
      is suspected;                                   statements regarding this scenario is correct?”
                                                      Kueng answered correctly: “You may be held liable
   - The need to aid someone who has lost for failure to follow the standard of care.”);
      consciousness;

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-   The dangers of failure to regain consciousness; GE 73 (Academy Defensive Tactics PPT) at 1231
    and                                             (“Side Recovery Position: Placing a restrained
                                                    subject on their side in order to reduce pressure on
-   The need for immediate CPR if no pulse is his/her chest and facilitate breathing);
    found.
                                                    GE 74 (Academy Defensive Tactics lesson plan) at 3
                                                    (“If unconsciousness occurred, request EMS
                                                    immediately by radio. Loosen clothing & jewelry
                                                    around the SUB’s neck area. Check airway &
                                                    breathing—start CPR if needed.”); side recovery at
                                                    4-5;

                                                       GE 87 (Excited Delirium PPT) at 3747 (“Ok they
                                                       are in handcuffs now what. Sudden cardiac arrest
                                                       typically occurs immediately following a violent
                                                       struggle. Place the subject in the recovery position
                                                       to alleviate positional asphyxia.”);

                                                       GE 83 (law enforcement medical aid textbook) at 5
                                                       (importance of the side recovery position with photo
                                                       illustrating it); 40 (noting, as to the provision of
                                                       medical aid, that “laws, regulations, and policies . . .
                                                       impose sanctions for wrongful actions”); 41
                                                       (discussing officer’s duty to act and stating, “Police
                                                       officers . . . have a duty to provide care because
                                                       their job includes the provision of emergency
                                                       medical care within the community.”); Unit 10
                                                       (airway, breathing, and oxygenation); Unit 11
                                                       (CPR) (instructing officers to (1) “assess” a patient’s


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                                                        airway, breathing, and circulation, and then (2)
                                                        “begin interventions needed to preserve life”);

He was not forced to make a split-second decision; he GE 7 (Kueng BWC) at 20:19:14-20:30:00
made a conscious choice over the course of 9 minutes.

Kueng’s omissions to supervisors show that he knew GE 5 at 20:45:22 (Kueng’s statements to Sgt.
that his failure to render aid was wrong.          Pleoger) (omitting how long the restraint lasted; that
                                                   Chauvin held his knee on Mr. Floyd’s neck; and that
                                                   officers could not find a pulse);

                                                        GE 5 at 21:56:30 (Kueng’s statements to Lt.
                                                        Zimmerman) (omitting how long the restraint
                                                        lasted; that Chauvin held his knee on Mr. Floyd’s
                                                        neck; that officers could not find a pulse);

                                                        GE 45 at 5-101 (MPD truthfulness policy: “Officers
                                                        shall not willfully or knowingly make an untruthful
                                                        statement, verbally or written, or knowingly omit
                                                        pertinent information pertaining to his or her
                                                        official duty as a Minneapolis police officer.”)

See also evidence supporting element 3 (defendant
actually knew that Mr. Floyd had a serious medical
need).

           Defendant Lane: Evidence                                    Source
Lane knew he was required to render aid because of GE 71 (Lane signature re: responsibility for
what he learned through MPD policy:                knowing policies)


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  -   Policy requires officers to render aid while GE 48 (Emergency Medical Response Policy 7-350)
      awaiting EMS; and                             at II.A. (“[D]elay in treatment could potentially
                                                    aggravate the severity of the medical crisis”); at
  -   Policy informs officers of the dangers of the II.A.1. (“While awaiting EMS, MPD employees
      prone position and the need to use the side assisting an individual having an acute medical
      recovery position.                            crisis shall provide any necessary first aid
                                                    consistent with MPD training, as soon as
                                                    practical.)” (emphasis added);

                                                      GE 46 (Use of Force Post Incident Requirements 5-
                                                      306) (“As soon as reasonably practical, determine if
                                                      anyone was injured and render medical aid
                                                      consistent with training and request [EMS] if
                                                      necessary.”) (emphasis added).; Id. at 5-316 (“Side
                                                      Recovery Position: Placing a restrained subject
                                                      on their side in order to reduce pressure on his/her
                                                      chest and facilitate breathing.”)
He knew because he was CPR-certified and trained GE 72 (Lane training records);
regarding:
                                                      GE 84 (Lane records documenting medical training
   - The need to place a person who is prone, and test responses and scores); e.g., at 1867 (Q: “If
      handcuffed, and no longer resisting in the side you are unable to feel a carotid pulse in an
      recovery position;                              unconscious, nonbreathing adult within 5 to 10
                                                      seconds, you should”; Lane answered correctly:
   - The dangers of positional asphyxia and keeping
                                                      “Begin cardiopulmonary resuscitation (CPR) at
      a person restrained in the prone position;
                                                      once.”); at 1864 (question providing scenario
   - The increased medical danger if substance use regarding delayed CPR: “Which of the following
      is suspected;                                   statements regarding this scenario is correct?” Lane



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-   The need to aid someone who has lost answered correctly: “You may be held liable for
    consciousness;                       failure to follow the standard of care.”);

-   The dangers of failure to regain consciousness; GE 73 (Academy Defensive Tactics PPT) at 1231
    and                                             (“Side Recovery Position: Placing a restrained
                                                    subject on their side in order to reduce pressure on
-   The need for immediate CPR if no pulse is his/her chest and facilitate breathing);
    found.
                                                    GE 74 (Academy Defensive Tactics lesson plan) at 3
                                                    (“If unconsciousness occurred, request EMS
                                                    immediately by radio. Loosen clothing & jewelry
                                                    around the SUB’s neck area. Check airway &
                                                    breathing—start CPR if needed.”); side recovery at
                                                    4-5;

                                                       GE 87 (Excited Delirium PPT) at 3747 (“Ok they
                                                       are in handcuffs now what. Sudden cardiac arrest
                                                       typically occurs immediately following a violent
                                                       struggle. Place the subject in the recovery position
                                                       to alleviate positional asphyxia.”);

                                                       GE 83 (law enforcement medical aid textbook) at 5
                                                       (importance of the side recovery position with photo
                                                       illustrating it); 40 (noting, as to the provision of
                                                       medical aid, that “laws, regulations, and policies . . .
                                                       impose sanctions for wrongful actions”); 41
                                                       (discussing officer’s duty to act and stating, “Police
                                                       officers . . . have a duty to provide care because
                                                       their job includes the provision of emergency
                                                       medical care within the community.”); Unit 10

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                                    (airway, breathing, and oxygenation); Unit 11
                                    (CPR) (instructing officers to (1) “assess” a patient’s
                                    airway, breathing, and circulation, and then (2)
                                    “begin interventions needed to preserve life”);

                                    GE 95 (Lane Henn. Co. Juvenile Det. Ctr. training
                                    log);

                                    GE 96 (Positional asphyxia training- Henn. Co.
                                    Juvenile Det. Ctr.) at 79158 (“How can we avoid
                                    Positional Asphyxia? . . . Once restraints are
                                    applied, position the subject in a position that
                                    doesn’t restrict breathing. This should be done right
                                    away. The best position will be either lying on their
                                    side in a ‘recovery’ position, or up in a seated
                                    position.”);

                                    Id. at 79159 (“What are the signs of Positional
                                    Asphyxia? . . . A person states he/she can’t breathe .
                                    . . Increasing panic . . . A change from being loud,
                                    active and violent to suddenly quiet and tranquil”);

                                    Id. at 79161-62 (“Please choose . . . the statements
                                    that are correct” re: “positional asphyxia and
                                    excited delirium”: A: “Once a subject is restrained,
                                    he should quickly be switched from a prone position
                                    to a position that allows him/her to breathe more
                                    freely.”);



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                                                       Id. at 79170 (“It is critical that when a subject all of
                                                       a sudden becomes quiet and still that staff check for
                                                       responsiveness and vital signs. The transition from
                                                       restraint to medical assistance must be quick. Staff
                                                       should provide first aid . . . right away.”);

                                                       Tr. at 1900 (testimony of Officer Nicole MacKenzie:
                                                       Q: “Now, but consistent with MPD medical
                                                       training, [how] are officers trained to deal with a
                                                       person who might be suffering from excited
                                                       delirium?” A: “Put them in the side recovery
                                                       position.”)

                                                       Tr. at 2571 (testimony of Chief Kelly McCarthy,
                                                       explaining that POST board learning objectives
                                                       specifically address positional asphyxia: “[A]s soon
                                                       as someone is restrained and it is safe for you to do
                                                       so, you need to move them into what we call a
                                                       recovery position or you need to ensure that they’re
                                                       able to breathe. . . . Because positional asphyxia is
                                                       so closely related to the position that we put people
                                                       in for handcuffing and there were enough in-
                                                       custody deaths that we needed to have a learning
                                                       objective on it.”).

He was not forced to make a split-second decision; he GE 5 (Lane BWC) at 20:19:14-20:30:00
made a conscious choice over the course of 9 minutes.




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Lane’s omissions to paramedics and to supervisors GE 5 at 20:29:10 (Lane’s statements to paramedic)
show that he knew that his failure to render aid was (omitting that Mr. Floyd had been pinned to the
wrong.                                               ground by his neck for 9 and a half minutes; that Mr.
                                                     Floyd had been unconscious for 4 minutes; and that
                                                     Mr. Floyd had been without an ascertainable pulse
                                                     for almost 3 minutes);

                                                        GE 5 at 20:45:22 (Lane’s statements to Sgt. Pleoger)
                                                        (omitting how long the restraint lasted; that
                                                        Chauvin held his knee on Mr. Floyd’s neck; that
                                                        officers could not find a pulse; that he did CPR in
                                                        ambulance);

                                                        GE 5 at 21:56:30 (Lane’s statements to Lt.
                                                        Zimmerman) (omitting how long the restraint
                                                        lasted; that Chauvin held his knee on Mr. Floyd’s
                                                        neck; that officers could not find a pulse; that he did
                                                        CPR in ambulance);

                                                        GE 45 at 5-101 (MPD truthfulness policy: “Officers
                                                        shall not willfully or knowingly make an untruthful
                                                        statement, verbally or written, or knowingly omit
                                                        pertinent information pertaining to his or her
                                                        official duty as a Minneapolis police officer.”)

See also evidence supporting element 3 (defendant
actually knew that Mr. Floyd had a serious medical
need).



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